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                               UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


IN RE PETITION OF NOVALPINA                          Case No. 3:23-mc-82 IM
CAPITAL PARTNERS I GP S.À.R.L. FOR
JUDICIAL ASSISTANCE PURSUANT TO                     EX PARTE PETITION FOR JUDICIAL
                                                    ASSISTANCE PURSUANT TO 28 U.S.C.
28 U.S.C. § 1782.                                   § 1782




       Applicant NOVALPINA CAPITAL PARTNERS I GP S.À.R.L. (“Novalpina GP”)

hereby petitions the Court ex parte for an order of judicial assistance, pursuant to 28 U.S.C. §

1782, appointing Tara J. Plochocki as a Commissioner of the Court to facilitate the issuance of

subpoenas and the gathering of documentary and testimonial evidence from the following

Respondents “residing in” or “found in” this district: (1) Tobias Read; (2) Michael Langdon.

       The requested relief is for the purpose of obtaining limited, but critical, discovery for use

in connection with a foreign civil proceeding currently pending in the Commercial Chambers of
Ex Parte Petition for Judicial Assistance
Pursuant to 28 U.S.C. § 1782                                                                       1
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the Luxembourg District Court, in which Novalpina GP is an interested person, and for a

contemplated claim to be filed in the same court. The grounds for this Petition are set forth in the

accompanying Memorandum of Law in Support of Petition for Judicial Assistance Pursuant to

28 U.S.C. § 1782 and the Declarations of Nicolas Thieltgen, Michael Zini, and Tara J. Plochocki.



                                                      Respectfully submitted,
Dated: January 27, 2023


                                                      s/ Jesse D. Mondry
                                                      Jesse Mondry
                                                      HARRIS BRICKEN SLIWOSKI, LLP




Ex Parte Petition for Judicial Assistance
Pursuant to 28 U.S.C. § 1782                                                                       2
